                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

ANNE O’BOYLE, Individually and on Behalf of ) Case No.: 18-cv-1921
All Others Similarly Situated,              )
                                            ) CLASS ACTION COMPLAINT
                                            )
              Plaintiff,                    )
       v.                                   )
                                            ) Jury Trial Demanded
NORTH SHORE AGENCY, LLC,                    )
                                            )
                                            )
              Defendant.                    )

                                         INTRODUCTION
       1.      This class action seeks redress for collection practices that violate the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”).

                                 JURISDICTION AND VENUE

       2.      The court has jurisdiction to grant the relief sought by the Plaintiff pursuant to 15

U.S.C. § 1692k and 28 U.S.C. §§ 1331 and 1337. Venue in this District is proper in that

Defendant directed its collection efforts into the District.

                                             PARTIES

       3.      Plaintiff Anne O’Boyle is an individual who resides in the Eastern District of

Wisconsin (Milwaukee County).

       4.      Plaintiff is a “consumer” as defined in the FDCPA, 15 U.S.C. § 1692a(3), in that

Defendant sought to collect a debt from her allegedly incurred for personal, family, or household

purposes.

       5.      Defendant North Shore Agency, LLC (“NSA”) is a foreign corporation with its

principal place of business located at 270 Spagnoli Road, Suite #110, Melville, NY 11747.

       6.      NSA is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.




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       7.      NSA is engaged in the business of collecting debts owed to others and incurred

for personal, family or household purposes.

       8.      NSA is a debt collector as defined in 15 U.S.C. § 1692a.

                                              FACTS

       9.      On or about October 30, 2018, NSA mailed a debt collection letter to Plaintiff

regarding an alleged debt owed to “PUBLISHERS CLEARING HOUSE.” A copy of this letter

is attached to this complaint as Exhibit A.

       10.     Upon information and belief, the alleged debt referenced in Exhibit A was

incurred as the result of the purchase of goods and services on credit, which were used only for

personal, family, or household purposes.

       11.     Upon information and belief, Exhibit A is a form letter, generated by computer,

and with the information specific to Plaintiff inserted by computer.

       12.     Upon information and belief, Exhibit A is a form, initial communication, debt

collection letter used by NSA to attempt to collect alleged debts.

       13.     Upon information and belief, Exhibit A was the first letter that NSA sent to

Plaintiff regarding the alleged debt referenced therein.

       14.     The reverse side of Exhibit A contains the FDCPA validation notice (see 15

U.S.C. § 1692g(a)):




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        15.    Exhibit A also states:




        16.    The text in NSA’s letter to Plaintiff and the class is inconsistent with 15 U.S.C. §

1692g(a), which states:

               (a) Notice of debt; contents
               Within five days after the initial communication with a consumer in
               connection with the collection of any debt, a debt collector shall, unless
               the following information is contained in the initial communication or the
               consumer has paid the debt, send the consumer a written notice
               containing—

               (1) the amount of the debt;

               (2) the name of the creditor to whom the debt is owed;

               (3) a statement that unless the consumer, within thirty days after receipt of
               the notice, disputes the validity of the debt, or any portion thereof, the debt
               will be assumed to be valid by the debt collector;

               (4) a statement that if the consumer notifies the debt collector in writing
               within the thirty-day period that the debt, or any portion thereof, is
               disputed, the debt collector will obtain verification of the debt or a copy of
               a judgment against the consumer and a copy of such verification or
               judgment will be mailed to the consumer by the debt collector; and

               (5) a statement that, upon the consumer’s written request within the thirty-
               day period, the debt collector will provide the consumer with the name
               and address of the original creditor, if different from the current creditor.

        17.    NSA’s language imposes additional requirements on debtors wishing to dispute a

debt.

        18.    NSA also misleads debtors as to what they actually need to do to dispute a debt.

        19.    NSA’s actions have the practical effect of discouraging individuals from

exercising their dispute rights.



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       20.     Exhibit A directs the consumer to “include a copy of North Shore Agency letter or

coupon, or your complete account information, with all communications.” However, nothing in

15 U.S.C. § 1692g(a) requires that a copy of the letter or coupon, or the consumer’s complete

account information be included in a written dispute.

       21.     Failure to provide the correct validation notice, or overshadowing it with

confusing, contradictory, or apparently contradictory language, is a per se violation of the

FDCPA. No analysis of materiality of the error or omission is required. Janetos v. Fulton

Friedman & Gullace, LLP, 825 F.3d 317, 324 (7th Cir. 2016) (“we have not extended the

implicit materiality requirement of § 1692e to reach claims under § 1692g(a).”).

       22.     For the purposes of Plaintiff’s claims under 15 U.S.C. § 1692e, false statements to

the effect that the consumer must “jump through hoops” that are not specified in the FDCPA in

order to communicate disputes, are materially false statements.

       23.     In general, false, misleading or confusing statements about the debt itself, or

about the creditor’s, debtor’s or debt collector’s rights or intentions, are all material. Hahn v.

Triumph Partnerships LLC, 557 F.3d 755, 757-58 (7th Cir. 2009).

       24.     NSA’s language imparts in the unsophisticated consumer a false belief about the

requirements to dispute a debt. See Mikolajczyk v. Universal Fid., LP, 2017 U.S. Dist. LEXIS

24587, at *11 (E.D. Wis. Feb. 22, 2017) (misrepresentation that consumer should provide a

reason for dispute was material because it “may dissuade her from exercising her unfettered right

under the FDCPA to dispute the debt.”).

       25.     The unsophisticated consumer would be confused by the language in NSA’s

letter. The unsophisticated consumer would interpret the requests for copies of the letter or

account information as requirements. See, e.g. Boucher v. Fin. Sys. of Green Bay, 880 F.3d 362,



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367, n.1 (7th Cir. 2018); quoting Lox v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012)

(“[C]onditional language, particularly in the absence of any language clarifying or explaining the

conditions, does not insulate a debt collector from liability.”).

       26.     The consumer would be misled into believing that a written dispute sent without

the “North Shore Agency letter or coupon, or your complete account information” would be

disregarded or otherwise not treated as a dispute, even though NSA would actually have to treat

such a communication as a dispute. The unsophisticated consumer, however, does not know this.

       27.     NSA’s additional requirements are unnecessary. Upon information and belief,

NSA could easily match Plaintiff’s name to her account, even if she did not include any of the

additional information NSA requests. The unsophisticated consumer does not know this either.

       28.     Upon information and belief, the sole purpose of NSA’s language requesting a

copy of the letter or “complete account information” be sent with “all communications” is to

waste the consumer’s time or make the consumer believe that the dispute process is burdensome,

thereby reducing disputes. See, eg., Walters v. PDI Management Services, 02-CV-1100-JDT-

TAB, 2004 WL 1622217 at *18-20 (S.D. Ind., April 6, 2004), modified by Walters v. PDI

Management Services, 2004 WL 2137513 (S.D. Ind., Jun 14, 2004) (certified mail “requirement”

violated 15 U.S.C. § 1692g(a) because, in part and independent of the additional cost, it wastes

the consumer’s time taking the letter to the post office).

       29.     The unsophisticated consumer cannot be expected to own a photocopier, scanner

or fax machine, or have free access to one. In order to create a copy of NSA’s letter, the

consumer would have to pay for a copy to be made at a commercial location.

       30.     Debt collectors have an incentive to avoid processing dispute letters. While the

debt collection process is primarily automated, disputes must be processed by hand, and



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sometimes by an attorney’s hand. Written disputes both cause debt collectors to incur costs of

time and money to validate debts and put the collector at risk of FDCPA liability for the

subsequent communications related to validation. See, e.g., Haddad v. Alexander, Zelmanski,

Danner & Fioritto, PLLC, 758 F.3d 777, 785-86 (6th Cir. 2014) (debt collector’s response to

consumer’s verification request was insufficient and violated 15 U.S.C. §§ 1692e and 1692g).

Debt collectors may likewise be concerned that creditors, who must also respond to requests for

validation, would be hesitant to use debt collectors whose letters prompt disputes, “wasting”

creditors’ time by requiring responses.

       31.     Thus, the purpose and effect of NSA’s additional requirement language is to

discourage consumers from disputing debts by making the consumer believe, falsely, that

additional, unnecessary steps are necessary to submit disputes.

       32.     Furthermore, Exhibit A includes the following representation:




       33.     On its face, Exhibit A appears to itemize Plaintiffs alleged debt as being

associated with a transaction(s) associated with two different “Product Description[s]”:

(1) “SOUTHERN LIVING” and (2) “COUNTRY GARDENS.”

       34.     While the line listing the “Product Description” of “SOUTHERN LIVING” also

lists a corresponding “Order Number” and “Order Amount Due,” the line listing the “Product

Description” of “COUNTRY GARDENS” lists no such corresponding information.

       35.     Confronted with the confusing itemization provided by Exhibit A, the

unsophisticated consumer would be left wondering whether the “TOTAL DUE” listed by the

letter actually accounted for the entirety of the alleged debt sought by NSA and/or the creditor or

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if there may be some additional, unknown amount associated with the “COUNTRY GARDENS”

product description.

         36.    Exhibit A thus fails to disclose the amount of the debt the letter seeks to collect in

a non-confusing manner.

         37.    As stated above, Under 15 U.S.C. 1692g(a)(1), a debt collector must, within five

days of the initial communication to a consumer regarding an alleged debt, “state the amount of

the debt.”

         38.    It is not enough that a debt collector merely state the amount of the debt, it must

do so in a non-confusing manner. Chuway v. Nat'l Action Fin. Servs., 362 F.3d 944, 948 (7th Cir.

2004).

         39.    Plaintiff was confused and misled by Exhibit A.

         40.    The unsophisticated consumer would be confused and misled by Exhibit A.

         41.    Plaintiff had to spend time and money investigating Exhibit A, and the

consequences of any potential responses to Exhibit A.

                                            The FDCPA

         42.    The FDCPA creates substantive rights for consumers; violations cause injury to

consumers, and such injuries are concrete and particularized. Derosia v. Credit Corp Solutions,

2018 U.S. Dist. LEXIS 50016, at *12 (E.D. Wis. Mar. 27, 2018) (“‘a plaintiff who receives

misinformation form a debt collector has suffered the type of injury the FDCPA was intended to

protect against’ and ‘satisfies the concrete injury in fact requirement of Article III.’”) (quoting

Pogorzelski v. Patenaude & Felix APC, 2017 U.S. Dist. LEXIS 89678, 2017 WL 2539782, at *3

(E.D. Wis. June 12, 2017)); Spuhler v. State Collection Servs., No. 16-CV-1149, 2017 U.S. Dist.

LEXIS 177631 (E.D. Wis. Oct. 26, 2017) (“As in Pogorzelski, the Spuhlers’ allegations that the



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debt collection letters sent by State Collection contained false representations of the character,

amount, or legal status of a debt in violation of their rights under the FDCPA sufficiently pleads

a concrete injury-in-fact for purposes of standing.”); Lorang v. Ditech Fin. LLC, 2017 U.S. Dist.

LEXIS 169286, at *6 (W.D. Wis. Oct. 13, 2017) (“the weight of authority in this circuit is that a

misrepresentation about a debt is a sufficient injury for standing because a primary purpose of

the FDCPA is to protect consumers from receiving false and misleading information.”); Neeley

v. Portfolio Recovery Assocs., LLC, 268 F. Supp. 3d 978, 982 (S.D. Ind. Aug. 2, 2017)

(“[N]othing in Spokeo overruled the Seventh Circuit’s decisions that emphasized and affirmed

the power of Congress to pass legislation creating new rights, which if violated, would confer

standing under Article III.”) (alteration in original) (quoting Saenz v. Buckeye Check Cashing,

2016 U.S. Dist. LEXIS 127784, at *5 (N.D. Ill. Sep. 20, 2016); Qualls v. T-H Prof’l & Med.

Collections, Ltd., 2017 U.S. Dist. LEXIS 113037, at *8 (C.D. Ill. July 20, 2017) (“Courts in this

Circuit, both before and after Spokeo, have rejected similar challenges to standing in FDCPA

cases.”) (citing “Hayes v. Convergent Healthcare Recoveries, Inc., 2016 U.S. Dist. LEXIS

139743 (C.D. Ill. 2016)); Bock v. Pressler & Pressler, LLP, No. 11-7593, 2017 U.S. Dist. LEXIS

81058 *21 (D.N.J. May 25, 2017) (“through [s]ection 1692e of the FDCPA, Congress

established ‘an enforceable right to truthful information concerning’ debt collection practices, a

decision that ‘was undoubtedly influenced by congressional awareness that the intentional

provision of misinformation’ related to such practices, ‘contribute[s] to the number of personal

bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual privacy,”);

Quinn v. Specialized Loan Servicing, LLC, No. 16 C 2021, 2016 U.S. Dist. LEXIS 107299 *8-13

(N.D. Ill. Aug. 11, 2016) (rejecting challenge to Plaintiff’s standing based upon alleged FDCPA

statutory violation); Lane v. Bayview Loan Servicing, LLC, No. 15 C 10446, 2016 U.S. Dist.



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LEXIS 89258 *9-10 (N.D. Ill. July 11, 2016) (“When a federal statute is violated, and especially

when Congress has created a cause of action for its violation, by definition Congress has created

a legally protected interest that it deems important enough for a lawsuit.”); Church v. Accretive

Health, Inc., No. 15-15708, 2016 U.S. App. LEXIS 12414 *7-11 (11th Cir. July 6, 2016) (same);

see also Mogg v. Jacobs, No. 15-CV-1142-JPG-DGW, 2016 U.S. Dist. LEXIS 33229, 2016 WL

1029396, at *5 (S.D. Ill. Mar. 15, 2016) (“Congress does have the power to enact statutes

creating legal rights, the invasion of which creates standing, even though no injury would exist

without the statute,” (quoting Sterk v. Redbox Automated Retail, LLC, 770 F.3d 618, 623 (7th

Cir. 2014)). For this reason, and to encourage consumers to bring FDCPA actions, Congress

authorized an award of statutory damages for violations. 15 U.S.C. § 1692k(a).

       43.     Moreover, Congress has explicitly described the FDCPA as regulating “abusive

practices” in debt collection. 15 U.S.C. §§ 1692(a) – 1692(e). Any person who receives a debt

collection letter containing a violation of the FDCPA is a victim of abusive practices. See 15

U.S.C. §§ 1692(e) (“It is the purpose of this subchapter to eliminate abusive debt collection

practices by debt collectors, to insure that those debt collectors who refrain from using abusive

debt collection practices are not competitively disadvantaged, and to promote consistent State

action to protect consumers against debt collection abuses”).

       44.     15 U.S.C. § 1692e generally prohibits “any false, deceptive, or misleading

representation or means in connection with the collection of any debt.”

       45.     15 U.S.C. § 1692e(10) specifically prohibits the “use of any false representation

or deceptive means to collect or attempt to collect any debt.”

       46.     15 U.S.C. § 1692g states, in part:

               (a) Notice of debt; contents



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              Within five days after the initial communication with a consumer in
              connection with the collection of any debt, a debt collector shall, unless
              the following information is contained in the initial communication or the
              consumer has paid the debt, send the consumer a written notice
              containing—

              ...

                    (3) a statement that unless the consumer, within thirty days after
                    receipt of the notice, disputes the validity of the debt, or any portion
                    thereof, the debt will be assumed to be valid by the debt collector;

                    (4) a statement that if the consumer notifies the debt collector in
                    writing within the thirty-day period that the debt, or any portion
                    thereof, is disputed, the debt collector will obtain verification of the
                    debt or a copy of a judgment against the consumer and a copy of
                    such verification or judgment will be mailed to the consumer by the
                    debt collector; and

                    (5) a statement that, upon the consumer’s written request within the
                    thirty-day period, the debt collector will provide the consumer with
                    the name and address of the original creditor, if different from the
                    current creditor.

              (b)     Disputed Debts

              ...

              Any collection activities and communication during the 30-day period
              may not overshadow or be inconsistent with the disclosure of the
              consumer’s right to dispute the debt or request the name and address of the
              original creditor.

                                     COUNT I – FDCPA

       47.    Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       48.    By requiring the consumer “include a copy of North Shore Agency letter or

coupon, or your complete account information, with all communications,” Exhibit A is false,

deceptive, and misleading as to whether such additional information must be included along with




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any written dispute or request for varication in order to trigger the consumer’s rights under the

FDCPA.

       49.     By requiring the consumer “include a copy of North Shore Agency letter or

coupon, or your complete account information, with all communications,” Exhibit A contradicts

and overshadows the validation notice.

       50.     By adding additional requests that the unsophisticated consumer would interpret

as requirements, NSA is attempting to discourage consumers from disputing debts in writing.

       51.     Defendant violated 15 U.S.C. §§ 1692e, 1692e(10), 1692g(a)(3), 1692g(a)(4),

1692g(a)(5), and 1692g(b).

                                      COUNT II – FDCPA

       52.     Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       53.     By itemizing multiple “Product Descriptions,” some of which were associated

with an “Order Number” and “Order Amount Due” and some of which did not, Exhibit A is

misleading as to whether the “TOTAL DUE” accounts for the entire amount NSA and/or the

creditor was seeking to collect from Plaintiff.

       54.     By itemizing multiple “Product Descriptions,” some of which were associated

with an “Order Number” and “Order Amount Due” and some of which did not, Exhibit A fails to

disclose the amount of Plaintiff’s alleged debt in a non-confusing manner..

       55.     Defendant violated 15 U.S.C. §§ 1692e, 1692e(10), and 1692g(a)(3).

                                    CLASS ALLEGATIONS

       56.     Plaintiff brings this action on behalf of a Class, consisting of (a) all natural

persons in the State of Wisconsin (b) who were sent a collection letter in the form represented by



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Exhibit A to the complaint in this action, (c) seeking to collect a debt for personal, family, or

household purposes, (d) between December 6, 2017 and December 6, 2018, inclusive, (e) that

was not returned by the postal service.

       57.     The Class is so numerous that joinder is impracticable. On information and

belief, there are more than 50 members of the Class.

       58.     There are questions of law and fact common to the members of the class, which

common questions predominate over any questions that affect only individual class members.

The predominant common question is whether the Defendant complied with the FDCPA.

       59.     Plaintiff’s claims are typical of the claims of the Class members. All are based on

the same factual and legal theories.

       60.     Plaintiff will fairly and adequately represent the interests of the Class members.

Plaintiff has retained counsel experienced in consumer credit and debt collection abuse cases.

       61.     A class action is superior to other alternative methods of adjudicating this dispute.

Individual cases are not economically feasible.

                                          JURY DEMAND

       62.     Plaintiff hereby demands a trial by jury.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

the Class and against Defendant for:

       (a)     actual damages;

       (b)     statutory damages;

       (c)     attorneys’ fees, litigation expenses and costs of suit; and

       (d)     such other or further relief as the Court deems proper.



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Dated: December 6, 2018


                                          ADEMI & O’REILLY, LLP

                                   By:    /s/ Mark A. Eldridge
                                          John D. Blythin (SBN 1046105)
                                          Mark A. Eldridge (SBN 1089944)
                                          Jesse Fruchter (SBN 1097673)
                                          Ben J. Slatky (SBN 1106892)
                                          3620 East Layton Avenue
                                          Cudahy, WI 53110
                                          (414) 482-8000
                                          (414) 482-8001 (fax)
                                          jblythin@ademilaw.com
                                          meldridge@ademilaw.com
                                          jfruchter@ademilaw.com
                                          bslatky@ademilaw.com




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